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                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                         Charlottesville Division

ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, NATALIE ROMERO, CHELSEA
ALVARADO, and JOHN DOE,

                       Plaintiffs,
v.

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES
ALEX FIELDS, JR., VANGUARD
AMERICA, ANDREW ANGLIN,                 Civil Action No. 3:17-cv-00072-NKM
MOONBASE HOLDINGS, LLC, ROBERT
“AZZMADOR” RAY, NATHAN DAMIGO,           PLAINTIFFS’ MEMORANDUM
ELLIOT KLINE a/k/a/ ELI MOSELY,           OF LAW IN OPPOSITION TO
IDENTITY EVROPA, MATTHEW                    DEFENDANT MICHAEL
HEIMBACH, MATTHEW PARROTT a/k/a        PEINOVICH’S MOTIONS TO QUASH
DAVID MATTHEW PARROTT,                  AND TO REQUIRE COMPLIANCE
TRADITIONALIST WORKER PARTY,                   WITH RULE 45
MICHAEL HILL, MICHAEL TUBBS,
LEAGUE OF THE SOUTH, JEFF SCHOEP,
NATIONAL SOCIALIST MOVEMENT,
NATIONALIST FRONT, AUGUSTUS SOL
INVICTUS, FRATERNAL ORDER OF THE
ALT-KNIGHTS, MICHAEL “ENOCH”
PEINOVICH, LOYAL WHITE KNIGHTS OF
THE KU KLUX KLAN, and EAST COAST
KNIGHTS OF THE KU KLUX KLAN a/k/a
EAST COAST KNIGHTS OF THE TRUE
INVISIBLE EMPIRE,

                       Defendants.
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       On February 14, 2018, Defendant Michael Peinovich filed a Motion to Quash Plaintiffs’

Subpoenas to Twitter, GoDaddy, Cloudflare, and Hatreon as docket number 226 (“Motion to Quash”).

On February 20, 2018, Defendant Peinovich filed a Motion to Require Plaintiffs’ Full Compliance with

Fed. R. Civ. P. 45(A)(4) and (B)(4) or in the Alternative to Quash as docket number 229 (“Rule 45

Motion”). Because the two motions are related, Plaintiffs hereby respond in opposition to both motions.

                                   PRELIMINARY STATEMENT

       Defendant Peinovich has moved to quash subpoenas (to which he lacks the standing to object) in

the wrong court, articulating no cognizable interest in the materials called for by those subpoenas.

Based on a misreading of the Federal Rules, he also complains that he did not receive information to

which he is not entitled. For the reasons set forth below, Defendant Peinovich’s Motion to Quash and

Rule 45 Motion should both be denied.

                                            BACKGROUND

       These motions relate to four non-party subpoenas (the “Subpoenas”) Plaintiffs issued to gather

evidence related to Defendants’ and their co-conspirators’ coordination of and planning for racially-

motivated violence they committed in Charlottesville on August 11 and 12. The Subpoenas are briefly

summarized below.

       GoDaddy. Plaintiffs issued a subpoena to GoDaddy, a web services company that previously

provided services to two relevant websites: the Daily Stormer and AltRight.com. The Daily Stormer

was published by Defendant Anglin and was a key communications tool used in connection with

Defendants’ conspiracy. As alleged in the First Amended Complaint (“FAC”), ECF No. 175, Daily

Stormer was named after Der Stürmer, a Nazi propaganda tabloid known for virulently anti-Semitic

caricatures and published by Julius Streicher, who was later convicted of crimes against humanity at

Nuremberg. (FAC ¶ 25.) Anglin and his associates at Daily Stormer, including Defendant Robert

“Azzmador” Ray, used Daily Stormer to ‘make a racist army.’” (Id.) Daily Stormer established “meet

ups” and chat rooms that co-conspirators and attendees used throughout the August 11 and 12 weekend
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to coordinate their violence. (Id.) Defendant Anglin orchestrated the movements of Daily Stormer

followers and incited them to violence on a live feed that streamed contemporaneously with the events

as they occurred on August 11 and 12 in Charlottesville. (Id.)

        Altright.com, as alleged in the FAC, was a communication tool used by Defendant Spencer. In

advance of the August 11 and 12 events, one posting on Altright.com explained: “Our ideas dominate

the internet . . . Now it’s time to dominate the streets. . . . You might think it’s just a rally, but really, it’s

so much more . . . . We are telling the anti-White establishment and it’s [sic] attack dogs that we are not

going to give another inch . . . And now we have come to the tipping point.” (Id. ¶ 87.)

        GoDaddy likely has information about content posted on both of these websites that is no longer

publicly available, as well as GoDaddy may also have information about who updated the websites to

communicate these messages and whether any other Defendants or individuals who engaged in violence

accessed the messages, which will help Plaintiffs establish the details of the coordination among

Defendants and co-conspirators. This information will also be important to Plaintiffs’ efforts to

authenticate statements made on Altright.com and the Daily Stormer.

        Cloudflare. The Cloudflare subpoena seeks information similar to the GoDaddy subpoena. The

primary difference is that Cloudflare provided services to Defendant Peinovich’s website,

RightStuff.biz, in addition to the Daily Stormer and AltRight.com. Defendant Peinovich uses The Right

Stuff website to host his podcast, or “talk show,” among other uses. Previous podcasts on The Right

Stuff have discussed extreme violence in conjunction with the Charlottesville rally, (id. ¶ 96 (opining

about the impossibility of “Beat[ing] up the wrong n[******]” and discussing gassing Jews)), and to

organize logistics for the rally, (id. ¶ 129). Like GoDaddy, Cloudflare likely has information about

content posted on both of these websites that is no longer publicly available, as well as information

about who updated the websites to communicate these messages and whether any other Defendants or

individuals who engaged in violence accessed the messages. Again, this information will help Plaintiffs

establish the details of the coordination among Defendants and co-conspirators.
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       Hatreon. Plaintiffs issued a subpoena to Hatreon, a crowd-funding site used by Defendants in

connection with the conspiracy alleged in the FAC. Defendant Cantwell, for example, used Hatreon to

raise money for bail after he was arrested for felonies committed on August 11 and 12, 2017, in

Charlottesville. Plaintiffs have requested information about transactions on Hatreon relating to the

events in Charlottesville. This information is relevant to establishing coordination among the

Defendants and their co-conspirators before, during, and after the events of August 11 and 12.

       Twitter. Defendants issued a subpoena to Twitter because, as alleged in the FAC, and based on

publicly available materials, various Defendants and co-conspirators used Twitter to confirm their

attendance at the Charlottesville rallies, to encourage others to attend, and to disseminate information

about the rally, including the planned violence. Twitter was also a primary mechanism for

communication during the rally and a means of disseminating instructions between and among co-

conspirators. (See, e.g., id. ¶ 80.) While some of Defendants’ communications were in the form of

public messages, Twitter users can also communicate in non-public ways. In addition, some of those

messages, public or private, may have subsequently been deleted by the users, but are still accessible to

Twitter. The subpoena also seeks information about Twitter users who communicated with the

Defendants and their co-conspirators during a short period around the time of the Unite the Right rally

to enable Plaintiffs to identify additional third parties who may have relevant information.

                                                 ARGUMENT

       As a threshold matter, a motion to quash may only be made in “the district where compliance is

required.” Fed. R. Civ. P. 45(d)(3)(A), (B). Compliance is not required in this District for any of the

Subpoenas. 1 Accordingly, the Court cannot grant Defendant Peinovich’s motion to quash. 2


1
  The relevant places of compliance are: Twitter and Cloudflare – Oakland, California; GoDaddy –
Phoenix, Arizona; and Hatreon – Austin, Texas. (See Exhibit A to Motion to Quash, ECF No. 226 2, at
2; Exhibit C to Motion to Quash, ECF No. 226-4, at 2; Exhibit B to Motion to Quash, ECF No. 226-3,
at 2; and Exhibit D to Motion to Quash, ECF No. 226-5, at 2.)
2
  To the extent the Court treats this motion as a motion for a protective order, the motion should
nevertheless be denied for the reasons stated below.
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       Moreover, even if this were the correct venue, Defendant Peinovich lacks standing to move to

quash the Subpoenas. The Fourth Circuit has held that a party lacks standing to move to quash a

subpoena issued to a nonparty unless the party seeking to challenge the subpoena can show a personal

right or privilege in the information sought by the subpoena. U.S. v. Idema, 118 F. App’x 740, 744 (4th

Cir. 2005). Here, Defendant Peinovich fails to show that he has a personal right or privilege in the

information sought by the Subpoenas—indeed, Defendant Peinovich does not even attempt to show

such an interest.

       Defendant Peinovich plainly has no “personal right or privilege” in the information sought by

the Subpoenas with respect to users other than himself. And courts have held that an internet or social

media user lacks standing to suppress discovery from internet and social media sources even as to the

user’s own information. In People v. Harris, for example, a New York court held that an individual did

not have standing to move to quash a subpoena directed to Twitter because the defendant had no

proprietary or privacy interest in his tweets or user information. 945 N.Y.S.2d 505, 508-10 (Crim. Ct.

2012). In that case, the defendant, Malcolm Harris, was charged with disorderly conduct in connection

with an “Occupy Wall Street” protest. Id. at 506. The New York County District Attorney sent a

subpoena to Twitter seeking “user information including email address, and Tweets posted for the

period of September 15, 2011 to December 31, 2011, for the Twitter account @destructuremal, the

Twitter account which is allegedly used by Malcolm Harris.” Id. The defendant moved to quash the

subpoena. Id. at 507. Analogizing the information sought to customer bank records, which the United

States Supreme Court has held are business records of the bank in which a customer has no proprietary

interest, United States v. Miller, 425 U.S. 435 (1976), and relying upon Twitter’s terms of service, 3 the



3
 Twitter’s terms of service provide: “By submitting, posting or displaying Content on or through the
Services, you grant us a worldwide, non-exclusive, royalty-free license (with the right to sublicense) to
use, copy, reproduce, process, adapt, modify, publish, transmit, display and distribute such Content in
any and all media or distribution methods (now known or later developed).” Available at
https://twitter.com/en/tos.
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court held that the defendant lacked standing to challenge the subpoena because the defendant had no

proprietary or privacy interest in the information being sought. Harris, 945 N.Y.S.2d at 508-10.

        Even if Defendant Peinovich had standing, the motion would still fail because he has failed to

establish that any of the grounds for quashing a subpoena exist here. A subpoena must be quashed,

upon timely motion, if it (1) fails to allow reasonable time to comply, (2) requires a person to comply

beyond the geographical limits of Rule 45, (3) requires disclosure of privileged or protected material, or

(4) subjects a person to undue burden. Fed. R. Civ. P. 45(d)(3)(A). A subpoena may also be quashed if

it requires disclosure of a trade secret or other sensitive commercial information or the opinion of an un-

retained expert. Fed. R. Civ. P. 45(d)(3)(B).

        The only one of those specified grounds that Defendant Peinovich even attempts to assert is that

the Subpoenas impose an undue burden on him. The Subpoenas, however, are not directed to

Defendant Peinovich and therefore impose no burden on him, much less an “undue” burden, as he is not

required to do anything. See Fed. R. Civ. P 45(c)(1) (“A party or attorney responsible for issuing and

serving a subpoena must take reasonable steps to avoid imposing undue burden or expense on a person

subject to the subpoena.” ) (emphasis added); see also Liberty Media Holdings, LLC, v. Swarm Sharing

Hash File AE340D0560129AFEE8D78CE07F2394C7 B5BC9C05; and Does 1 through 38, 821 F.

Supp. 2d 444, 450 (D. Mass. 2011) (denying defendants’ motion to quash subpoenas to their internet

service providers and stating that defendants could not assert “undue burden” because the subpoenas

were not directed at them); CineTel Films, Inc. v. Does 1-1, 052, 853 F.Supp.2d 545, 556 (D. Md. 2012)

(same). 4


4
  The CineTel court found that the defendants had standing because the information sought by the
subpoena was their own information, not, as here, the information of unnamed non-parties, but
nevertheless denied the motion to quash on the grounds that the defendants had no privacy interest in
their own internet conduct. 853 F. Supp. 2d at 555-56. The court specifically stated that the movants
“did not have standing to contest the subpoena on other grounds,” such as undue burden. Id. at 556. In
this case, Defendant Peinovich does not seek to justify his motion as a way of protecting his own
internet habits—indeed, he volunteers that he uses all the relevant websites—such that CineTel supports
the conclusion that Defendant Peinovich lacks standing for his motion.
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       Defendant Peinovich nevertheless argues that the Subpoenas will “destroy Peinovich’s talk show

and vocation” (Motion to Quash at 2), and that the Subpoenas will “have a chilling effect on free speech

generally as individuals who would like to consume or produce politically incorrect, conservative, pro-

Trump, pro-white, right wing, or other controversial content would feel they may be subject to doxing,

intimidation, and harassment” (id. at 4).

       These vague, hypothetical concerns would not provide a basis to quash the Subpoenas even if

they were substantiated (and they are not). 5 If there were any legitimate concern about harassment of

Defendant Peinovich’s followers (and he has utterly failed to show that there is), such concern could be

addressed by the confidentiality order in place in this litigation, which places restrictions on the public

disclosure of confidential information. Defendant Peinovich’s unsubstantiated concern is not a reason

to preclude production of the information sought.

       Finally, Plaintiffs have fully complied with their Rule 45 obligations. Defendant Peinovich

argues that advance notice and a copy of third party subpoenas must be provided to parties in a

litigation. (See Rule 45 Motion at 1-2.) He acknowledges that Plaintiffs have done that. Indeed,

Defendant Peinovich attaches copies of the Subpoenas about which he complains to his motion papers.

Defendant Peinovich’s citation to Rule 45(b)(4) is inapposite because that rule establishes the necessary

content of any proof of service in the event that such proof is necessitated by an issue before the court

(such as a challenge to service or a motion to compel). See Fed. R. Civ. P. 45(a)(4). No such proof of

service has been required. Plaintiffs have thus satisfied their obligations under Rule 45.

                                             CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendant

Peinovich’s Motion to Quash and Rule 45 Motion.

5
 Defendant Peinovich’s failure to meet his burden of proof is yet another independent basis on which to
deny his motion. As the moving party, Peinovich bears the burden of proof under FRCP 45(d)(3) and
has failed to carry this burden. “[V]ague legal conclusions” are not sufficient to satisfy this burden. In
re C and M Investments of High Point Inc., No. 13-10661, 2015 WL 661177, at *4 (Bankr. M.D.N.C.
2015).
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 28, 2018, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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   Christopher Cantwell
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   Pro Se Defendant


   I further hereby certify that on February 28, 2018, I also served the following non-ECF
   participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

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   a/k/a Loyal White Knights Church of                 Augustus Sol Invictus
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   P.O. Box 54
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   Richard Spencer
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   -and-
   P.O. Box 1676
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   Moonbase Holdings, LLC
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